                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION

 UNITED STATES OF AMERICA

 v.                                            Case No. 6:20-CR-97
                                               JCB/JDL
 SHY ANNE ROGERS (05)


                              NOTICE OF PLEA AGREEMENT

        The United States of America, by its undersigned counsel, would show the Court

that the defendant, Shy Anne Rogers, and the government have entered into a written

plea agreement in relation to the charges now pending before this Court.

                                           Respectfully submitted,
                                           NICHOLAS J. GANJEI
                                           ACTING UNITED STATES ATTORNEY

                                           /s/ D. Ryan Locker
                                           D. RYAN LOCKER
                                           ASSISTANT U.S. ATTORNEY
                                           Texas Bar No. 24046307
                                           110 North College Avenue, Suite 700
                                           Tyler, Texas 75702
                                           (903) 590-1400
                                           Ryan.Locker@usdoj.gov


                             CERTIFICATE OF CONFERENCE

        I certify that on or about the date of filing, I have conferred with opposing counsel

who has indicated that he does not oppose the contents of this notice or its filing.

                                           /s/ D. Ryan Locker
                                           D. RYAN LOCKER

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                                 CERTIFICATE OF SERVICE

        I certify that this Notice of Plea Agreement has been served on counsel for

defendant via the court’s CM/ECF system on March 12, 2021.

                                                 /s/ D. Ryan Locker
                                                 D. RYAN LOCKER




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